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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

L. LEE WHITNUM,                                 :     DOCKET NO. 3:17-cv-1362
      Plaintiff-Appellant,                      :
                                                :
vs.                                             :
                                                :
THE TOWN OF WOODBRIDGE,                         :
ROBERT B. CROWTHER (PERSONALLY                  :
and PROFESSIONALLY), FRANK                      :
P. CAPPIELLO (PERSONALLY and                    :
PROFESSIONALLY),                                :     September 3, 2019
     Defendants-Appellees.


                  EMERGENCY MOTION FOR DISQUALIFICATION


1. This litigant is demanding Judge Janet Hall step down immediately. You are a wolf in

sheep’s clothing out to harm me. This litigant recently discovered on the internet, much

to her horror, that Janet Halls’ husband is a member of the Anti-Defamation League.

Not just a card-carrying member but a leader – a member of the National Executive

Committee of the organization that is the CANCER in our government, dedicated to

destroying people like me. Madam, if this is your husband you must get off my case




immediately.                 David R. Schaefer / Activities & Associations

•   National Executive Committee of the Anti-Defamation League, Member

•   WHAT!?
•




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2.    National Executive Committee, so do they sit around and decide whose

campaigns and what political candidates to destroy. Simple “power of the Purse”

AIPAC slogan. Control every senate and congressional race and you rule the world.

Ensure a steady flow of what is now $38 billion to the Israel. We are bankrupt but we

must give Israel $38 billion thanks in part to the cancer in our government – the ADL.

3.    Personally, I believe AIPAC’s 30-year rise in power has been the decline in the

United States of America. This litigant is a proud member of the Peace Community.

AIPAC and all of its 236 member organizations are the enemy – your husband is the

enemy.

4.    Although some of the AIPAC groups are innocuous and strictly religiously based,

not so for the ADL. their legal branch, dedicated to destroying the lives and campaigns

of any American candidate who is not pro- Israel.

5.    Janet Hall you cannot be married to such an extremist zealot and be non-biased,

Everything you have done thus far, now makes sense such as precluding Emons and

forcing me to change my amended complaint to stricken out any reference to her

despite the fact that she was hugely instrumental.

6.    The dedication of your husband’s group is to destroy people like me for Israel is

fact. Case in point: Congresswoman Cynthia McKinney a proud and strong member of

the Peace Community outspoken against the United States funding of Israel and the

deplorable treatment of their non-Jewish underclass. Her constituents loved her, AIPAC

could out-fund her out of office, so what did they do? They sent a team of ADL lawyers

to redraw her Congressional district so that she was out of a job. This was a sitting




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Congresswoman in my country. How dare you undermine a sitting Congresswoman –

the government of my country, for another country. How dare you.

7.     I’m standing up for the United States of America, and people like your husband

are standing for the best interests of Israel So, here we are at opposite ends of the

spectrum.

8.    Please do not tell me this is about Judaism because it is not. My significant other

is a Jewish man who is not political and not a Zionist. He would never hold up a sign

and protest in Washington at the annual Move over AIPAC conference the way I do. He

is not political. But at the same time, he is not immune nor unsympathetic to my point of

view. For that reason I say you cannot be unsympathetic to your husband’s point of

view. I’m sure you know that to be true.

9.    I believe you have targeted me. In my view Madam, your husband is the enemy

and you are up to no good. Please step down.



Sincerely,
s/L. Lee Whitnum




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                                      CERTIFICATION

       I hereby certify that on Sept. 3, 2019, a copy of the foregoing was filed

electronically and served by email on anyone unable to accept electronic filing.

Kirsten & Tallberg, LLC
500 Enterprise Drive, Suite 4B
Rocky Hill, CT 06067


Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing. Parties

may access this filing through the Court’s system.

Sincerely,
s/L. Lee Whitnum




                                               W5
